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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


LARRY KLAYMAN,

                            Plaintiff,
                    v.
                                                   Civil Action No. 1:06-cv-00670
JUDICIAL WATCH, INC.,

                           Defendant.




                                    NOTICE OF APPEAL

       Plaintiff and Counter Defendant Larry Klayman hereby appeals to the United States

Court of Appeals for the District of Columbia Circuit the March 24, 2009 Order Granting

Defendants’ Motion for Sanctions, ECF No. 302, March 14, 2018 Jury Verdict, ECF No. 560,

March 15, 2018 Judgment on the Verdict, March 15, 2018 Judgment on the Verdict, ECF No.

548, 549, March 18, 2019 Order Denying Motion for Judgment as Matter of Law, for a New

Trial, or in the Alternative, for Remittitur of the Jury Verdict, ECF No. 580, August 7, 2019

Order Denying Motion for Reconsideration of the Court's Order Denying Motion for Judgment

Notwithstanding the Verdict and Renewed Motion for Voluntary Recusal or Disqualification,

ECF No. 603, August 22, 2019 Order Denying Motion for Reconsideration, ECF No. 607, all

orders denying motions for recusal and/or disqualification, and all other rulings and orders

adverse to Plaintiff and Counter-Defendant Larry Klayman in this cause.


Dated: September 6, 2019                           Respectfully submitted,


                                                   /s/ Larry Klayman

                                                   Larry Klayman, Esq.
                                                   2020 Pennsylvania Ave NW, #800


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                                                   Pro Se



                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically and served through the court’s ECF system to all counsel of record or parties on

September 6, 2019.


                                                                 /s/ Larry Klayman




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